            Case 2:22-cv-00138-JNP Document 20 Filed 07/08/22 PageID.125 Page 1 of 1
AO 121 (Rev. 06/16)
TO:

                        Register of Copyrights                                                          REPORT ON THE
                         U.S. Copyright Office                                                  FILING OR DETERMINATION OF AN
                      101 Independence Ave. S.E.                                                       ACTION OR APPEAL
                      Washington, D.C. 20559-6000                                                   REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                          COURT NAME AND LOCATION
             ACTION                   APPEAL                              United States District Court for the District of Utah
DOCKET NO.                          DATE FILED                            351 S West Temple, Room 1.100
      2:22-cv-00138-JNP                         2/28/2022                 Salt Lake City, UT 84101
PLAINTIFF                                                                             DEFENDANT

 ANHVU C. NGUYEN, an individual                                                        CORPORATION OF WESTERN GOVERNORS
                                                                                       UNIVERSITY, a Utah Corporation


         COPYRIGHT
                                                                TITLE OF WORK                                               AUTHOR OF WORK
      REGISTRATION NO.

1                                         See Attached Complaint - Dismissed per Stipulation
2

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      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                                   Amendment                   Answer                 Cross Bill             Other Pleading
         COPYRIGHT
                                                                TITLE OF WORK                                               AUTHOR OF WORK
      REGISTRATION NO.

1

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    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                     DATE RENDERED

                  Order             Judgment                                     Yes            No


CLERK                                                            (BY) DEPUTY CLERK                                            DATE

                        Gary Serdar                                                       Amy Faust                                       7/8/2022
                      1) Upon initiation of action,               2) Upon filing of document adding copyright(s),     3) Upon termination of action,
                         mail copy to Register of Copyrights         mail copy to Register of Copyrights                  mail copy to Register of Copyrights
DISTRIBUTION:
                      4) In the event of an appeal, forward copy to Appellate Court               5) Case File Copy
